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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

CONSUMER FINANCIAL PROTECTION         :
BUREAU,                               :         C.A. No. 17-1323 (MN)
                                      :
                    Plaintiff,        :
                                      :    PUBLIC VERSION Filed March 19, 2020
v.                                    :
                                      :
THE NATIONAL COLLEGIATE MASTER        :
STUDENT LOAN TRUST et al.,            :
                                      :
                    Defendants.       :




      INTERVENORS’ CONSOLIDATED ANSWERING BRIEF IN OPPOSITION TO
     PLAINTIFF’S MOTION TO APPROVE THE PROPOSED CONSENT JUDGMENT
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       Pursuant to the Court’s order dated November 29, 2018 (D.I. 99), as amended, the

Intervenors hereby submit their answering brief addressing the two threshold issues (“Threshold

Issues”) identified by the Court in opposition to the motion by the Consumer Financial Protection

Bureau (“CFPB”) for approval of the Proposed Consent Judgment (“PCJ”).

                                PRELIMINARY STATEMENT

       The McCarter & English, LLP law firm (“McCarter”) was not authorized to agree to any

federal court enforcement order on behalf of any of the fifteen National Collegiate Student Loan

Trusts, 1 much less an order that—like the PCJ—contravenes the Trusts’ governing agreements,

conflicts with binding contractual relationships among multiple parties, imposes burdensome

compliance provisions at extraordinary costs to the Trusts, and assesses multi-million dollar

penalties on top of disgorgement and restitution awards.

       Nor did McCarter obtain the requisite approval from those parties with the authority to

endorse the PCJ, or the requisite consent from those parties that actually would bear the financial

burden (the Noteholders and Note Insurer) and that would be tasked with performing the directives

of the PCJ (the other Intervenors). Nonetheless, knowing full well that it lacked the contractually-

mandated authorization, McCarter improperly followed the directive of certain residual equity

holders of the Trusts (the “Owners”) to agree to an enforcement order that would illicitly re-write

the governing agreements to the Owners’ advantage, diverting to their own pockets funds

contractually earmarked to repay the Noteholders and providing the Owners with control of the

Trusts. As both unauthorized and improper, the PCJ should not be approved.



1
  Capitalized terms not otherwise defined have the meaning ascribed thereto in the Trust
Agreements (“TA”), Indentures and the Administration Agreements. Unqualified references to
these agreements are to those versions from the National Collegiate Student Loan Trust (“NCSLT”
or “Trust”) 2006-4 transaction. References to the agreements as “Insured” are to those from
NCSLT 2007-4. If terms are the same, only the NCSLT 2006-4 agreements are cited.
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        McCarter lacked the authority to execute the PCJ on the Trusts’ behalf for at least four

independent reasons. As to each, McCarter admitted at deposition the salient predicate facts

establishing its lack of authority:

        First, McCarter did not obtain the authorization of the Owner Trustee to execute the PCJ.

Under the governing Trust Agreements, the Owners can act only through the Owner Trustee, as

the Trusts’ authorized agent.

                                                 .                           only after the Owner

Trustee rejected Uderitz’s demand that it execute the PCJ having determined that, inter alia, the

PCJ violated the governing Trust Related Agreements. That the Owner Trustee did not execute

the PCJ or authorize McCarter to execute the PCJ is fatal to McCarter’s authority.

        Second, McCarter had no authority to execute the PCJ on behalf of the Trusts because

Chaitman LLP, which purported to retain McCarter on behalf of the Trusts, lacked authority.




                  . In fact, the record shows the retention of Chaitman was defective because

                                                     . Moreover, even if it had been obtained,

Chaitman’s retention did not encompass compromising the CFPB’s claims or acting on behalf of

all the Trusts.    Since all of McCarter’s authority flowed from Chaitman, these defects in

Chaitman’s authority necessarily mean that McCarter also lacked authority.

        Third,                                                                                  .

Until the Notes are repaid and the Indentures are discharged, only the Indenture Trustee has

authority to compromise claims that, like the CFPB’s allegations against the Trusts, affect the

priority of liens on and payments from the student loans granted by the Owner Trustee to the

Indenture Trustee. Yet, McCarter did not even
                                                2
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                                                             .

           Fourth, McCarter did not obtain the requisite consent from the other necessary transaction

parties.



      . Yet consent from those parties was never obtained even though the PCJ would re-write the

Trusts’ governance, priority of liens and payments, and call for material unauthorized payments to

be made from the Trusts’ assets. And even if the PCJ did not breach the Trust Related Agreements

(it does), McCarter conceded that

                                                                  .

           In addition, McCarter’s signing of the PCJ on behalf of the Trusts was improper as it

violated the duties it owed to the Trusts—and to the Trusts’ priority economic beneficiaries:

           First, McCarter negotiated terms of the PCJ that were intended to (and would) alter the

Trust Related Agreements by placing the Owners in control of the Trusts’ governance and assets,

while accepting                             the extraordinary financial penalties the CFPB proposed.

Those terms served to benefit the Owners to the detriment of the Trusts and the true priority

economic beneficiaries that would bear the resultant losses—Noteholders and Ambac.

           Second, to further Uderitz’s interests,



                                                                       . In fact, McCarter signed the

PCJ following Uderitz’s determination that

                                                     .

           For each of the forgoing reasons, the Intervenors respectfully submit that the Court should

find that the CFPB has not overcome either Threshold Issue, and deny the motion for approval.



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                                              FACTS

       The following sections recite the irrefutable record—with the salient facts drawn from

McCarter’s admissions—that demonstrates that the Threshold Issues are dispositive of this matter.

       A.      The Trusts

               1.      The Trusts, Trustees, and Administrator

       The Trusts are fifteen Delaware statutory trusts created between 2001 and 2007 to

effectuate the securitization of pools of student loans. D.I. 1 ¶ 10. The operation of each Trust is

governed by a Trust Agreement, Indenture, and Administration Agreement, which are

“contemporaneous, interrelated documents that each refer to the other” and must be read together

to be properly understood. 2 The Trust Agreements are governed by Delaware law. Ex. 1, TA           §

14.10. The Indentures and Administration Agreements are governed by New York law. Ex. 2,

Administration Agreement § 13; Ex. 3, Indenture § 11.12. 3

       In McCarter’s words,

                       Ex. 4 at -0001464. The Trusts have no officers or employees. D.I. 1 ¶ 12.

Rather, three entities are respectively tasked with particular, contractually-specified aspects of the

Trusts’ administration while the Indentures are outstanding: The Owner Trustee (Wilmington

Trust Company or “WTC”), the Administrator (GSS Data Services), and the Indenture Trustee

(U.S. Bank). See Ex. 1, TA §§ 2.01, 2.03(b)(i), (iv); Ex. 2, Administration Agreement § 1(c)(i);

Ex. 3, Indenture § 3.19.




2
 Brief for Defendants-Appellees at 44, In re: National Collegiate Student Loan Trusts 2003-1,
BL-44, No. 18-3327 (3rd Cir.).
3
 All references to “Ex_” are to exhibits annexed to the accompanying declaration of Erik Haas
dated March 12, 2020.
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               2.      The Priority Economic Beneficiaries

       Noteholders and Ambac as Note Insurer are the two priority economic beneficiaries of the

Trusts that have the only remaining viable economic claims to the Trusts’ assets. 4 By executing

the Indenture, the Owner Trustee pledged the Trusts’ rights in the “student loans and payments

received therefrom” to an Indenture Trustee, whereby those interests became part of the Indenture

Trust Estate that serves as Collateral for the Noteholders and Ambac. Ex. 1, TA         § 2.03(a)(i),

(b)(i); Ex. 3, Indenture, Granting Clause. Under the Indenture, the Indenture Trustee holds a first

priority lien on those assets for “the benefit of the holders of the Notes and Ambac.” Ex. 5, Insured

Indenture, Granting Clause. Accordingly, the Noteholders and Ambac are entitled to payment of

all amounts due to them before any amounts may be paid to the Owners. Ex. 5, Insured Indenture

§ 8.02; Ex. 6, Insured TA § 5.02. Reflecting their priority economic interests, the Noteholders and

Ambac are express third-party beneficiaries of the Trust Agreements, the Servicing Agreements,

and Indentures. See Ex. 6, Insured TA § 14.04; Ex. 3, Indenture §§ 11.10, 11.18. 5

               3.      The Residual “Owners”

       The Trusts issued certificates that represent residual beneficial ownership interests. Ex. 1,

TA § 3.01. The holders of the residual interests are referred to as “Owners.” Id. § 1.01. As

residual interest holders, the Owners are not entitled to receive any payments until the Notes are


4
 Ambac issued policies guaranteeing payments on certain Notes in three Trusts: the Master Trust,
NCSLT 2007-3, and NCSLT 2007-4 (collectively, the “Insured Trusts”).
5
 Accord Ex. 3, Indenture § 11.18 (“This Indenture will inure to the benefit of and be binding upon
the parties hereto, the Owner Trustee, the Noteholder, the Note Owners, TERI and their respective
successors and permitted assigns.”); Ex. 5, Insured Indenture § 11.10 (“Ambac is hereby explicitly
recognized as being a third-party beneficiary hereunder and may enforce any such right, remedy
or claim conferred, given or granted hereunder as if it were a party hereto.”); Ex. 7, Insured
Administration Agreement § 18 (“[T]he parties hereto acknowledge that Ambac, the Noteholders,
Certificateholders and TERI . . . are express third party beneficiaries hereof and are entitled to
enforce their respective rights hereunder as if actually parties hereto.”); Ex. 8, Insurance &
Indemnity Agreement §§ 2.03(i), 2.04(h); D.I. 181 at 5.

                                                 5
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Ex. 1, TA §§ 1.01 (definition of “Authorized Officer”), 2.01-2.03, 4.02(a), (b); Ex. 14, Gotthoffer

48:9-11.

                4.      The Servicers

        Loan “servicing” is the process of collecting amounts due on the loans. The Trusts

contracted primarily with Pennsylvania Higher Education Assistance Agency (“PHEAA”) to act

as the servicer of loans that are current or not seriously past due. D.I. 54 at 5; D.I. 95 at 8.

        Pursuant to special servicing agreements executed in 2009 with the consent of the Indenture

Trustee, an affiliate of First Marblehead (the sponsor of the securitizations) acted as the special

servicer overseeing collection of past due or defaulted loans and managing collection litigation.

The First Marblehead affiliate resigned in 2012, and U.S. Bank, as “Back-up Special Servicer”,

assumed the role of Successor Special Servicer, but its function was to engage sub-servicers. D.I.

1 ¶¶ 21-23; D.I. 54 at 5. In 2014, TSI assumed control over certain business units that previously

had been run by NCO Financial Systems, Inc. and became the sub-servicer managing collections

and collection litigation activity. D.I. 1 ¶ 16; D.I. 54 at 5; D.I. 95 at 8.

        B.      The Grant of the Trusts’ Res to the Indenture Trustee

        The Trust Agreements provide that the purpose of each Trust is to “acquire a pool of

Student Loans, to execute the Indenture and to issue the Notes” and to execute the agreements for

the “administration” and “servicing” of those loans. Ex. 1, TA §§ 2.03(a)(i)-(iii), 2.04. Absent

the consent of Noteholders (and Ambac for the Insured Trusts), each Trust Agreement strictly

limits and proscribes the Trust from engaging in additional business or activities “[u]ntil the

Indenture is discharged.” Ex. 1, TA § 2.03(a)(iv); accord Ex. 6, Insured TA § 14.01(a).

        By executing the Indenture and pursuant to its “Granting Clause”, each Trust assigned and

pledged to the Indenture Trustee all right, title and interest in the student loans and related

securitization contracts, for the benefit of the Noteholders and Ambac. Ex. 5, Insured Indenture,

                                                    7
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Granting Clause. 8 This Grant was an “absolute” conveyance of “all rights, powers and options”

of the Trusts including “generally to do and receiv[e] anything that the [Trust] is or may be entitled

to do or receive.” Ex. 3, Indenture, App. A (Definition of “Grant”); id. § 3.07(f). Pertinent here,

the Grant encompassed “all present and future claims, demands, causes and chooses in action”

pertaining to the student loans and their servicing, including the authority “to bring Proceedings”

in the name of the Trusts. 9 Id., Granting Clause.

       Included within the Grant is a first priority and perfected lien on the Indenture Trust Estate

in favor of the Indenture Trustee for the benefit of the Noteholders and Note Insurer. Ex. 5, Insured

Indenture § 3.22(a), (b), (f). The Indenture Trustee “shall deposit” payments received from

servicers into the Collection Accounts, from which distributions are made according to the

Indenture payment waterfall. Ex. 3, Indenture §§ 8.01, 8.02(d). Further, “the Trust Accounts

[including the Collection Account] shall be under the sole dominion and control of the Indenture

Trustee.” Id. § 8.02(c) (emphasis added). Payments from the Trust Accounts are made in strict

accordance with heavily negotiated payment provisions set forth in the Indentures that establish

the relative priority of all distributions (“Payment Waterfall”). See Ex. 3, Indenture §§ 3.23(m),

3.17, 8.02(d). The Payment Waterfall assigns highest priority to certain fees and expenses of the

Owner Trustee, Indenture Trustee, Servicers, and Administrator (subject to applicable caps), and

sets forth how remaining funds must be distributed to the Noteholders, Note Insurer, and other

specified parties. To preserve and protect those priority interests, the Indentures prohibit the Trusts



8
 The Trust Agreements explicitly provide that the “pledge of any Trust Property to any Person by
the Owner Trustee made under any Trust Related Agreement and pursuant to the terms of this
Agreement shall bind the Owners and shall be effective to transfer or convey the rights of the
Owner Trustee and the Owners in and to such Trust Property to the extent set forth in such Trust
Related Agreement.” Ex. 1, TA § 14.03.
9
 “Proceedings” is defined broadly to include “any suit in equity, action at law or other judicial or
administrative proceeding.” Ex. 3, Indenture at A-20.
                                                  8
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from impairing or conveying, and mandate that the Trusts take all actions necessary to maintain

and preserve, the Indenture Trust Estate and the lien created by the Indenture—until the Notes are

repaid and the Indentures are discharged. See id. §§ 2.09, 3.05(i), 3.23(m), (o), 9.02.

       Moreover, the Indentures require the Trusts to obtain consent from the Indenture Trustee,

the Noteholders, and Ambac in order “to amend, modify, waive, supplement, terminate or

surrender” the terms of the Trust Related Agreements, or “to agree to” any such act. Ex. 3,

Indenture § 3.07(f) (emphasis added); accord Ex. 5, Insured Indenture § 3.07(f). The Trusts may

not “sell, transfer, exchange or otherwise dispose” of any part of the Indenture Trust Estate unless

expressly permitted by the Trust Related Agreements or directed to do so by the Indenture Trustee

or Ambac. Ex. 5, Insured Indenture § 3.08.

       Finally, to reinforce the priority rights of the Noteholders and Ambac over the interests of

the Owners, the Trust Agreements constrain the Owners’ ability to cause the Trusts to act while

the Notes are outstanding:

           •   The Trusts can act only through the Owner Trustee and its agents. Ex. 1, TA
               §§ 2.01, 2.02, 2.03(b)(i), (ii), (iv), (vi), 4.01, 4.02, 9.03(b), 10.01;

           •   The Owners’ right to direct the Owner Trustee to take actions on behalf of the
               Trusts is limited, and the Owners are expressly prohibited from directing the Owner
               Trustee to take actions that would violate the Trust Related Agreements. Id. §
               4.02(b);

           •   The Owner Trustee is not obligated to follow any direction that violates any Trust
               Related Agreement or the law. Id. § 4.02(a)(i);

           •   Directions to the Owner Trustee to take non-ministerial actions must be made by
               all the Owners. Id. § 4.01(a). The Master Trust Agreement also provides that
                                                                   Ex. 15, Master TA         §
               4.01(a);

           •   The Trusts must “avoid the appearance . . . of conducting business on behalf of any
               Owner or any Affiliate of an Owner.” Ex. 1, TA § 2.03(b)(iv).

These terms align the authority over the Trusts and their assets with the entities that have the


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priority economic interests—the Noteholders and Ambac.

       C.     VCG’s Plan to Obtain Control Over the Trusts

       The PCJ’s origins — and McCarter’s unauthorized and improper decision to execute the

PCJ — lie in VCG’s attempt to monetize its otherwise worthless investment in the Trusts by

installing its own affiliate as servicer for the Trusts. To that end,



                                                 . Ex. 16, Uderitz 353:25-354:2, 50:24-51:8. In

an email sent in November 2015 concerning                               , Uderitz outlined his



                                                                                                 Ex.

17 at -042904.

                                                                                    . Id. Uderitz

instructed Chaitman and his other counsel that

                                                       Id.

       VCG’s efforts to have the Trusts retain Odyssey began as early as November 2014,



                                                             . See Ex. 18 (the “

                         ”).

                                                                                            Id. at -

00010625. The Owner Trustee, though, never signed that servicing agreement.

       On December 29, 2014, VCG issued

                                                                          . Ex. 19 (the “

                               ”).                                              . Id. at -00003935.

                                                                                      . Ex. 1, TA §

                                               10
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      . Ex. 33, Kosch 60:21-61:3, 62:6-15.

                          . Id., 62:6-63:6. But as McCarter concedes,




                   . Id., 60:21-62:5.

       F.     VCG Directs McCarter to Effect a



                                                                                               .

See Ex. 35.



                                                                            . Ex. 14, Gotthoffer

60:20-61:17; Ex. 28, Costello 20:4-15.



                         . Ex. 33, Kosch 73:6-76:5.

                                                                      . Id., 87:3-20.

              1.      McCarter Initially

                                                                                  . Ex. 36. As

McCarter recounted,



                                             Ex. 33, Kosch 114:8-116:9.

       McCarter’s view at the outset was



Ex. 37 at -000823-24. At the time, VCG and McCarter understood

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                                            . Ex. 33, Kosch 109:23-111:6, 122:25-124:16, 133:6-

139:21. Indeed, Uderitz stated

                  Ex. 38 at -0011989; see also Ex. 39 at -0012593 (

                                     ).




                          16
                               Ex. 25 at 1, 17 (emphasis added). McCarter explained



                                                      . Id. at 5-6.




              . Id. at 2, 14-15; Ex. 33, Kosch 133:6-139:21.




           . Ex. 25 at 14-17; Ex. 33, Kosch 138:20-140:16.

                                                       , when in fact the audit was incomplete and its

results were inconclusive. Ex. 25 at 9; see Facts Section C.

                                                           . Ex. 33, Kosch 395:25-396:8.

       Finally,




16
                                                               , Ex. 33, Kosch 132:24-133:5.
                                                 15
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                              . Id., 240:7-19; Ex. 53 at -0012955; see also Ex. 54 at -0016106

(                                                                        ”).



            . Ex. 33, Kosch 208:18-209:19, 236:18-237:11, 240:7-242:4.



                                                                       . 23 Id., 364:10-365:25.

               4.     McCarter Never

       McCarter accepted the CFPB’s proposed financial penalties and sanctions without

                                       . For example, the CFPB           provided McCarter with

copies of three cherry-picked affidavits that had been filed in assorted collections lawsuits. See

                              . These affidavits did not prove the fact or extent of the CFPB’s

claims. Ex. 55. As Uderitz put it,                                     . Ex. 16, Uderitz 149:12-

23.




                               Ex. 56 at -001693.

                                                                               Id.




23
                                                          despite the fact that the CFPB’s consent
order with TSI provided for the payment of a $2.5 million civil money penalty. See Consent Order
¶ 58, In the Matter of Transworld Systems, 2017-CFPB-0018.
                                               19
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               2.      VCG Fails to Obtain Ambac’s Consent




     . Ex. 69; Ex. 33, Kosch 181:24-182:8; Ex. 62 (“

                           ”).

       Nonetheless,                                                                      . Ex. 16,

Uderitz 322:16-323:19.

                          . Ex. 70 at -0012914 (“




                                 ”).



                       Ex. 57 at -0011638. Consequently, Ambac never gave consent to the PCJ

for any of the Insured Trusts.                         .

               3.      The Owner Trustee Rejects VCG’s Demand To Sign the Consent Order

       When VCG attempted to direct the Owner Trustee to execute the draft administrative order

that McCarter and the CFPB staff had negotiated in early July 2017, the Owner Trustee informed

VCG that it was unwilling to sign because the order appeared to impose obligations on the Trusts

that are contrary to the Trust Related Agreements. Ex. 58 at -0001699-700. The Owner Trustee,

with the advice of counsel, cited numerous reasons why the Owners’ direction to sign appeared to

be invalid: (a) litigation concerning whether VCG and affiliates improperly owned 100% of the

Certificates was not yet resolved; (b) Ambac had not authorized the direction for the Master Trust;

and (c) the order “could impose obligations on the Trusts that are contrary to the express terms of

the Indenture.” On the latter point, the Owner Trustee noted those apparently improper obligations

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issued by the CFPB’s Director to a federal court injunctive action that requires court approval

under 12 U.S.C. § 5564(c). See Ex. 77.

        On September 18, 2017, upon direction from VCG, the PCJ was signed by McCarter

attorneys purportedly on behalf of all fifteen Trusts, including the Insured Trusts, and the CFPB

filed the PCJ in this Court with a pro forma motion for the Court to approve the PCJ. See PCJ at

1-2; D.I. 3;                                      .

                                          ARGUMENT

        Focusing exclusively on the Threshold Issues, as directed by this Court, the PCJ is invalid

and should not be approved.

I.      MCCARTER LACKED THE AUTHORITY TO EXECUTE THE PCJ

        A.     McCarter Lacked Authority Because the Owners Lacked Authority

        McCarter asserts

                                                                 . But the Trust Agreements are

unequivocal that—until the Indentures discharged—the Owners have no authority to act

unilaterally on behalf of the Trusts, but rather must act through and by direction to the Owner

Trustee, including to “compromise any claim or lawsuit brought by or against the Trust…” Ex. 1,

TA § 4.01(b)(i); see also id § 2.03(b)(i), (iv). There is good reason for this contractual mandate:

It provides a check on the Owners, as residual interest holders in the Trusts, from causing the

Trusts to take actions that benefit the Owners to the detriment of the senior and priority interests

of the Noteholders and Note Insurer. The Trusts Agreements specifically authorize the Owner

Trustee to refuse Owner directions that it reasonably determines (or is advised by counsel) are




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only “trustees” have the authority to act on behalf of the Trusts. See




                                                                . Here, the Owner Trustee rejected

the proposed order because of valid concerns that it was inconsistent with the Trust Related

Agreements.

        Second,




                                                                             . But read in full, those

sections state that the Administrator has authority to compromise suits if it receives “instructions

from the Indenture Trustee, in accordance with the Indenture, from the Owner Trustee or the

Owners in accordance with the Trust Agreement.” 30 Ex. 2, Administration Agreement § 1(d)(i).

Thus,                                    , (i) the Indenture Trustee has the authority to instruct the

Administrator to compromise suits, and (ii) any authority the Owners have may be exercised only

through the Owner Trustee (or Administrator).




30
  For the Insured Trusts, the authority to instruct the Administrator to compromise litigation also
includes “Ambac.” See Ex. 7, Insured Administration Agreement § 1(c)(i)(B).

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                                                       . Id.




                                       . See supra Facts D; Ex. 28, Costello 109:4-110:2.

                                   Chaitman was never properly engaged on behalf of those three

Trusts, and neither was McCarter.

       Second,

                                                                                               . 32 See

supra Facts D. Chaitman’s authority to act on behalf of the Trusts was limited

      , and it lacked the authority to retain McCarter to respond to the CFPB’s allegations on

behalf of the Trusts. Id.

       Third,                                                                                         .

See supra Facts D; Ex. 28, Costello 109:4-110:2.                                                      ,

Chaitman was never properly engaged on behalf of those three Trusts, and neither was McCarter.




32
  In related litigation, McCarter has suggested that the Owner Trustee’s approval of fees for work
done by Chaitman and McCarter involving the CFPB ratified their authority. See, e.g., McCarter
Fee Action, No. 654144/2018, ECF No. 234 (N.Y. Sup. Ct.). That is unpersuasive. The Owner
Trustee had no authority to ratify work done on behalf of the Trusts absent a legitimate direction
pursuant to express provisions of the Trust Related Agreements. Ex. 1, TA § 4.01(b);
                      . Even if it had the authority (and it did not), the Owner Trustee did not ratify
or waive any objection to either firm’s authority to negotiate or consent to the PCJ. The Owner
Trustee paid initial invoices from Chaitman and McCarter in reliance on the Owners’ and
Chaitman’s representations as to the propriety of the fees. However,
                                                      . Ex. 28, Costello 123:9-124:24. There was no
knowing endorsement of the scope of the engagement, and thus no ratification or waiver.

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       Finally,



             . Ex. 28, Costello 110:15-25; Ex. 16, Uderitz 359:12–19. Under the Master Trust

Agreement, Ambac’s consent is required for any direction by the Owners to the Owner Trustee for

non-ministerial matters. 33                           . That consent was never obtained.

                   . For all of the above reasons, the Chaitman Direction Letter offers no support

for McCarter’s authority to execute the PCJ.

       C.      Without the Indenture Trustee’s Approval, the Settlement is Void

       Even if McCarter were duly retained by the Owner Trustee (it was not), the PCJ is void as

a matter of law because the Indenture Trustee never approved the settlement.

       As set forth above, the Grant in each Indenture confers upon the Indenture Trustee the

authority “to bring Proceedings in the name of the [Trusts]” and “generally to do and receive

anything that the [Trusts are] or may be entitled to do or receive.” Ex. 3, Indenture at A-13

(definition of “Grant”). The Grant expressly includes an assignment to the Indenture Trustee of

the “present and future claims, demands, causes and choses in action” with respect to the

Collateral. Ex. 3, Indenture, Granting Clause; see supra Facts B.

       Bedrock New York law confirms that a grant of assets to a securitization trustee includes

“a full assignment of the right to commence litigation.” Phoenix Light SF Ltd. v. U.S. Bank, N.A.,

No. 14-cv-10116 (KB), 2015 WL 2359358, at * (S.D.N.Y. May 18, 2015). It is well-established

that this authority applies to the right to settle claims. See, e.g., In re Bank of New York Mellon,

42 Misc.3d 1237(A) (N.Y. Sup. Ct. 2014) aff’d as modified, 127 A.D.3d 120 (N.Y. App. Div. 1st

Dep’t 2015). In that case, a securitization trustee obtained judicial confirmation of the trustee’s


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 The Owners have previously conceded that Chaitman’s retention constitutes a non-ministerial
matter. See Ex. 79 at 22.
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$8.5 billion settlement of claims associated with more than 500 securitization trusts. The court

observed that the grant to the trustee of “all right, title, and interest” in the assets of these trusts

“grants the Trustee the power and authority to commence litigation” and that this “discretionary”

power includes the right to settle. Id. at *14-15. 34

        Whatever obligation the Trusts as Issuers retained to defend the Collateral and preserve the

lien of the Indenture is subject to the “absolute” assignment of the Grant, which encompasses the

right to compromise any claim involving the Collateral. As a matter of New York law, any attempt

to compromise such claims without authorization of the Indenture Trustee is void ab initio.



                                                                                                       .

That the Indenture Trustee did not execute the PCJ or authorize McCarter to execute the PCJ is

fatal to McCarter’s authority, and dispositive of this action, in and of itself.

        D.      McCarter Lacked the Requisite Consents from Other Transaction Parties

        Federal courts have repeatedly rejected consent judgments that affect the legal rights or

obligations of non-consenting parties, as is the case here. See, e.g., Bass v. Federal Sav. & Loan

Ins. Corp., 698 F.2d 328, 330 (7th Cir. 1983) (consent Judgment between FSLIC and title company

rejected because it improperly froze funds set aside to pay non-consenting officers and directors).

Similarly, in U.S. v. Sharlands Terrace, LLC, the court rejected a consent judgment proposed by

the government and a variety of housing and design entities because they failed to obtain the

consent of the owners of the subject housing properties whose contracts would be affected. 2007

WL 1577847 *1 (D. Nev. May 31, 2007); see also United States v. City of Hialeah, 140 F.3d 968,


34
  In the wake of this case, numerous New York courts have reached the same conclusion
concerning the power of securitization trustees. See, e.g., U.S. Bank Nat’l Assoc. v. Federal Home
Loan Bank of Boston, 2016 WL 9110399, at *16 (N.Y. Sup. Ct. 2016); In re U.S. Bank Nat’l Ass’n,
51 Misc.3d 273, 284-85 (N.Y. Sup. Ct. 2015).
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971 (11th Cir. 1998) (rejecting proposed consent decree in Title VII discrimination case because

it would have impaired contractual rights of non-consenting third parties).

       If implemented, the terms of the PCJ would fundamentally alter the way the Trusts operate

and modify the Trusts’ governing agreements and the rights and obligations of the parties thereto,

including to force the Trusts to impair the loan collateral in violation of those agreements without

the mandatory consent of transaction parties, including the Indenture Trustee, the Noteholders, and

Ambac. McCarter did not have authority to execute the PCJ because it lacked the requisite

consents to reform the Trusts’ governance and impair the loan collateral.

               1.      No Consent to Amend the Trust Related Agreements

       Under the Indentures, McCarter was required to obtain consent from the Indenture Trustee

and the Noteholders (and for the Insured Trusts, Ambac) to amend, modify, waive, supplement,

terminate, or surrender the terms of the Trust Related Agreements or enter into any agreement that

does the same. Ex. 3, Indenture §§ 3.07(c), (f); see also                               . 35 The PCJ

contemplates sweeping changes to the operations of the Trust that are contrary to the plain terms

of the Trust Related Agreements.

       First, the PCJ would replace the Trusts’ operational structure—in which the Indenture

Trustee, Owner Trustee, Administrator and others each play a defined role—with an operating

“Board” (i.e., VCG) vested with virtually limitless authority to act for and control the Trusts. See

PCJ ¶ 32 (“the Board of Defendants will have the ultimate responsibility for proper and sound

management of Defendants.”). Further, while the Trust Agreements require unanimous consent



35
   Accord 12 Del. C. § 3338 (providing that nonjudicial settlements require the consent of “all
whose interest in the trust would be affected by the proposed nonjudicial settlement agreement”);
Del. Ct. Ch. R. 101(a)(7) (a consent petition for a modification of a trust must be accompanied by
consents from “all whose interest in the trust is affected by the petition,” which includes trustees,
fiduciaries, beneficiaries, and anyone with other interests).
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of all the Owners to direct the Owner Trustee as to non-ministerial acts (see Ex. 1, TA §§ 4.01,

4.02, 4.03), the Board would have direct control of the Trusts with a simple majority owned by

VCG, unchecked by an Owner Trustee or other contractual protections. See, e.g., PCJ ¶ 7(f)

(“‘Board’ means the registered owner of a majority of the beneficial interest in each of the Trusts”).

       Second, the PCJ would saddle the Trusts with the obligation and the costs of performing a

compliance “audit” of each of the 600,000 loans—

                                                                         , and hand over the control

of loan servicing to VCG and its affiliate, Odyssey, see PCJ ¶¶ 19, 31, 33, 41. This would turn on

its head the current contractual regime whereby the servicing rights under the Basic Documents,

including the Special Servicing Agreements, were assigned to the Indenture Trustee pursuant to

the Grant of the Indentures. See Ex. 3, Indenture, Granting Clause.

       Third, the PCJ would redirect all student loan payments that “shall” be placed in the

Collection Accounts, which are under the “sole dominion and control” of the Indenture Trustee,

see Ex. 3, Indenture §§ 8.01(b), 8.02(c), to an “escrow account” controlled by the “Board”—i.e.,

VCG, see PCJ ¶¶ 17-18, 33. The PCJ would eliminate and replace the mandatory “waterfall”

payment provision of the Indentures—the backbone of structured finance transactions that sets

forth painstakingly negotiated caps and limitations on administrative expenses, and the priority of

payments to various classes of Noteholders (see, e.g., Ex. 3, Indenture § 8.02(d), Ex. 1, TA §

5.02)—and permit the Owners to control distributions from the Escrow “to carry out Trust

operations” as they see fit. See PCJ ¶¶ 18, 33. The escrow account would mean

                                                                . 36



36
  If implemented, these changes would also conflate the Trusts’ funds and assets with those of the
Trusts’ Owners in breach of TA § 2.03(b)(ii). They would authorize the Owners, not the Owner
Trustee, to conduct the business and affairs of the Trusts in breach of TA § 2.03(b)(iv).
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provided for in the Indentures. Ex. 3, Indenture § 3.08(i). For the Insured Trusts, Ambac’s consent

is required to dispose of the Trusts’ assets in any manner. Ex. 5, Insured Indenture § 3.08(i); see

also id. § 3.07;                                             .

        The PCJ would violate these covenants. The fees and penalties will necessarily require the

Trusts to “dispose” of assets and otherwise subordinate the Noteholders’ and Ambac’s priority

rights in these assets. And the escrow will redirect all cash flows from student loans—the Trusts’

only asset—from the waterfall to an account solely controlled by VCG. During his deposition,

Uderitz admitted                                                                                   .

Ex. 16, Uderitz 317:8-16. Even during negotiations, McCarter



                               Ex. 80.

                                                       See Ex. 33, Kosch 375:16-376:8, 182:9-13; Ex.

16, Uderitz 314:24-315:1; see supra Facts G, H.1., H.2.

                   3.     McCarter

                                            Ambac’s consent was necessary for McCarter to execute

the PCJ on behalf of the Master Trust.

           .



                        . Ex. 15, Master TA § 4.01; see also Ex. 81, Master Trust Indenture § 9.02.

Yet no such consent was ever obtained. See

  .



                        . Ex. 33, Kosch 181:24-182:25, 363:22-364:3; Ex. 16, Uderitz 298:24-25.



                                                  35
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                                                                                          . Ex. 33,

Kosch 363:12-23.                                                      no question that the inclusion

of the Master Trust in the PCJ was unauthorized.

II.     IT WAS IMPROPER FOR MCCARTER TO ENTER INTO THE PCJ

        McCarter’s unauthorized decision to execute the PCJ on behalf of its supposed client, the

Trusts, was not only a legal nullity, but also improper. It is axiomatic that McCarter owed an

undivided duty of loyalty to its actual clients, the Trusts. See In re Corn Derivatives Antitrust

Litig., 748 F.2d 157, 161 (3d Cir. 1984) (holding that “an attorney may not abandon his client”

without violating “a duty of continuing loyalty to the client”); Schock v. Nash, 732 A.2d 217, 225–

26 (Del. 1999) (“under the duty of loyalty,” an attorney “always has the obligation to act in the

best interest of the principal”).



            . Ex. 16, Uderitz 62:11-63:10, 276:1-18; Ex. 10, Rodriguez-Lugo 241:12-243:16.

        Yet, McCarter negotiated and agreed to a PCJ that it knew the Owner Trustee rejected




            . McCarter’s conduct in negotiating and executing the PCJ constitutes independent

grounds for denial of the PCJ, if not a breach of fiduciary duties.




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       McCarter understood that it was retained to represent the Trusts through the authority

granted to the Owner Trustee. 38 Once McCarter learned that the Owner Trustee – the Trusts’

authorized agent and the entity that signed the engagement letter from which McCarter’s purported

authority to act for the Trusts was derived – declined to execute the PCJ on several legal and

contractual grounds, McCarter was obligated to abide by the Owner Trustee’s decision not to

execute the PCJ. See, e.g., DRPC 1.2 (“a lawyer shall abide by a client’s decisions . . . [including]

whether to settle a matter.”). At an absolute minimum,



         McCarter was obligated as the Trusts’ lawyer not to execute the PCJ. See DRPC 1.7.




Ex. 33, Kosch 119:14-18, 122:13-123:5; see supra Facts F.1.

                                                                                   Id.



              Ex. 33, Kosch 114:15-115:9.



                                                                                  Ex. 56 at -001693.

                                                                                         Id.



                                                                         .   The contemporaneous

correspondence between McCarter and the CFPB illustrates the upside-down nature of the



 Indeed, McCarter has filed a lawsuit seeking over $1 million in legal fees incurred in connection
38

with the PCJ as Owner Trustee expenses. See McCarter & English LLP v. The National Collegiate
Master Student Loan Trust I, et al., Index No. 654144/2018 (N.Y. Sup. Ct.), Dkt. No. 234 at 10.
                                                 37
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                                        CONCLUSION

       For the foregoing reasons, the Intervenors respectfully submit that the CFPB cannot

overcome either of the Threshold Issues, and its motion for approval of the PCJ should be denied.




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DATED: March 12, 2020




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